Case 3:17-cv-00072-NKM-JCH Document 1270 Filed 10/20/21 Page 1 of 2 Pageid#: 21217



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                           CHARLOTTESVILLE DIVISION


                                                               Action No: 3:17CV72
    Elizabeth Sines, et al                                     Date: October 20, 2021
    vs.                                                        Judge: Norman K. Moon
                                                               Court Reporter: Lisa Blair
    Jason Kessler, et al
                                                               Deputy Clerk: Heidi N. Wheeler



    Plaintiff Attorney(s)                              Defendant Attorney(s)
    Jessica Phillips                                   James Kolenich
    Michael Bloch                                      Josh Smith
    Roberta Kaplan                                     William Rebrook
    Alan Levine                                        David Campbell
    Yotam Barkai                                       Bryan Jones
    Jonathan Kay
    David Mills                                        Richard Spencer, pro se
    Karen Dunn                                         Christopher Cantwell, pro se
    Makiko Hiromi
    Giovanni Sanchez
    Raymond Tolentino
    Matthew Godi

    (present via zoon hearing )



                                        LIST OF WITNESSES

    PLAINTIFF/GOVERNMENT:                              DEFENDANT:
    1.                                                 1.



   PROCEEDINGS:
   VIDEO MOTION HEARING AND STATUS HEARING 3:00-4:25=1hr 25min

   Court gives outline for proceeding today’s hearing and motions.

   Court inquires as to persons named to receive questionnaire notifications. Plaintiff will get list to
   Clerk. Court explains process to pro se parties.
Case 3:17-cv-00072-NKM-JCH Document 1270 Filed 10/20/21 Page 2 of 2 Pageid#: 21218


   Court addresses Motions by pro se defendant Cantwell. 1066, 1085 and 1088. Arguments
   heard. Objections to witness list addressed. Further motions argued.

   Plaintiff’s counsel seeks to have additional parties in the courtroom during opening and closings.
   Court will make determination.

   Further arguments remarks by Defense.

   Defendant Cantwell argues regarding lack of exhibit lists. Plaintiff’s counsel responds.

   Plaintffs’ counsel directs the Court’s attention to Motion 1238. Court will grant motion.

   Plaintiff’s motion 1152 argued.

   Mr. Jones argues Motion 1147. Ms. Dunn and Mr. Levine respond.

   Ms. Dunn addresses preliminary instructions.

   Court adjourns.




   Time in Court:
